        Case:24-12624-KHT Doc#:289 Filed:01/10/25                                           Entered:01/10/25 22:30:08 Page1 of 4
                                                              United States Bankruptcy Court
                                                                   District of Colorado
In re:                                                                                                                 Case No. 24-12624-KHT
DNC and TCPA LIST SANITIZER, LLC                                                                                       Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jan 07, 2025                                               Form ID: pdf904                                                           Total Noticed: 14
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 10, 2025:
Recip ID                 Recipient Name and Address
intp                   + Cashyew Holding, LLC, 405 Cherry Hills Way, Colorado Springs, CO 80921-2667
intp                   + GLEGAL, LLC, c/o Gary Tucker, 1600 Broadway No. 1660, Denver, CO 80202-4915
cr                     + JPMorgan Chase Bank, N.A., c/o Sherman & Howard L.L.C., Attn: Peter A. Cal, Esq., 675 Fifteenth Street, Suite 2300, Denver, CO
                         80202-4258
19607629               + Allen Vellone Wolf Halfrich & Factor, PC, 1600 Stout Street Stuie 1900, Denver, CO 80202-3160
19607631              #+ American Express, Business Line of Credit PO Box 570622, Atlanta, GA 30357-3110
19607634               + Cohen Trial, LLC, 1600 Broadway Suite 1660, Denver, CO 80202-4915
19607638               + Quandry Peak Research, 205 S Broadway Suite 300, Los Angeles, CA 90012-3607
19607628               + Ringba, LLC, 8 the Green Suite 11558, Dover DE 19901-3618

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
db                        Email/Text: michael@tcpalitigatorlist.com
                                                                                        Jan 07 2025 22:26:00      DNC and TCPA LIST SANITIZER, LLC, 985
                                                                                                                  Pico Point, Colorado Springs, CO 80905
aty                    + Email/Text: la@allen-vellone.com
                                                                                        Jan 07 2025 22:26:00      Allen Vellone Wolf Helfrich & Factor P.C., 1600
                                                                                                                  Stout Street Suite 1900, Denver, CO 80202-3156
19607630               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Jan 07 2025 22:38:46      American Express, PO Box 6031, Carol Stream,
                                                                                                                  IL 60197-6031
19607635               ^ MEBN
                                                                                        Jan 07 2025 22:17:56      CT Corporation System, as representative, Attn:
                                                                                                                  SPRS, 330 N Brand Blvd Ste 700, Glendale, CA
                                                                                                                  91203-2336
19607636                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Jan 07 2025 22:39:29      JP Morgan Chase Bank NA, PO Box 6026
                                                                                                                  IL1-1145, Chicago, IL 60680-6026
19607632                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Jan 07 2025 22:27:46      Chase, PO Box 78039, Phoenix, AZ 85062-8039

TOTAL: 6


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
          Case:24-12624-KHT Doc#:289 Filed:01/10/25                                    Entered:01/10/25 22:30:08 Page2 of 4
District/off: 1082-1                                              User: admin                                                           Page 2 of 3
Date Rcvd: Jan 07, 2025                                           Form ID: pdf904                                                     Total Noticed: 14

belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 10, 2025                                        Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 7, 2025 at the address(es) listed
below:
Name                             Email Address
Aaron A Garber
                                 on behalf of Debtor DNC and TCPA LIST SANITIZER LLC agarber@wgwc-law.com,
                                 ngarber@wgwc-law.com;8931566420@filings.docketbird.com

Alan K. Motes
                                 on behalf of U.S. Trustee US Trustee Alan.Motes@usdoj.gov

Arthur Lindquist-Kleissler
                                 on behalf of Interested Party Cashyew Holding LLC Arthuralklaw@gmail.com,
                                 seanalklaw@gmail.com;LindquistKleisslerCompanyLLC@jubileebk.net

Chad S. Caby
                                 on behalf of Creditor Adam Young ccaby@lewisroca.com chadwick-caby-5693@ecf.pacerpro.com,jeastin@lewisroca.com

Chad S. Caby
                                 on behalf of Creditor Ringba LLC ccaby@lewisroca.com, chadwick-caby-5693@ecf.pacerpro.com,jeastin@lewisroca.com

Chad S. Caby
                                 on behalf of Creditor Tubmanburg Limited ccaby@lewisroca.com
                                 chadwick-caby-5693@ecf.pacerpro.com,jeastin@lewisroca.com

Jason Cooper
                                 on behalf of Interested Party GLEGAL LLC jason.cooper@fmglaw.com

Jeffrey Cohen
                                 on behalf of Creditor Jeffery Cohen jcohen@cohentrial.com

John Gray
                                 on behalf of Creditor JPMorgan Chase Bank N.A. jgray@shermanhoward.com,
                                 dfouts@shermanhoward.com;efiling@sah.com;lkostyk@shermanhoward.com;lkostyk@shermanhoward.com

Joli A. Lofstedt
                                 joli@jaltrustee.com ecf.alert+Lofstedt@titlexi.com,brenda@jaltrustee.com

Katharine S. Sender
                                 on behalf of Attorney Allen Vellone Wolf Helfrich & Factor P.C. ksender@allen-vellone.com
                                 la@allen-vellone.com,allen-vellone@myecfx.com

Katharine S. Sender
                                 on behalf of Debtor DNC and TCPA LIST SANITIZER LLC ksender@allen-vellone.com,
                                 la@allen-vellone.com,allen-vellone@myecfx.com

Peter A. Cal
                                 on behalf of Creditor JPMorgan Chase Bank N.A. pcal@sah.com, rneal@shermanhoward.com;efiling@sah.com

Reza Rismani
                                 on behalf of Interested Party GLEGAL LLC reza.rismani@fmglaw.com

Robert J. Shilliday, III
                                 on behalf of Attorney John Cimino rjs@shillidaylaw.com

US Trustee
                                 USTPRegion19.DV.ECF@usdoj.gov

Vandana Koelsch
                                 on behalf of Spec. Counsel Allen Vellone Wolf Helfrich & Factor P.C. vkoelsch@allen-vellone.com,
                                 la@allen-vellone.com,allen-vellone@myecfx.com

Vandana Koelsch
                                 on behalf of Attorney Allen Vellone Wolf Helfrich & Factor P.C. vkoelsch@allen-vellone.com
                                 la@allen-vellone.com,allen-vellone@myecfx.com
      Case:24-12624-KHT Doc#:289 Filed:01/10/25                           Entered:01/10/25 22:30:08 Page3 of 4
District/off: 1082-1                                    User: admin                                           Page 3 of 3
Date Rcvd: Jan 07, 2025                                 Form ID: pdf904                                     Total Noticed: 14
Vandana Koelsch
                          on behalf of Debtor DNC and TCPA LIST SANITIZER LLC vkoelsch@allen-vellone.com,
                          la@allen-vellone.com,allen-vellone@myecfx.com


TOTAL: 19
Case:24-12624-KHT Doc#:289 Filed:01/10/25                       Entered:01/10/25 22:30:08 Page4 of 4



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

  In re:                                                )
                                                        )
  DNC and TCPA LIST SANITIZER, LLC                      )      Case No. 24-12624-KHT
                                                        )      Chapter 11, Subchapter V
           Debtor.                                      )
                                                        )


   ORDER GRANTING SECOND UNOPPOSED MOTION FOR EXTENSION OF TIME
   TO OBJECT TO MOTION TO APPROVE SETTLEMENT AGREEMENT BETWEEN
          THE (A) DEBTOR AND (B) ADAM YOUNG AND RINGBA, LLC


         THIS MATTER comes before the Court on the Second Unopposed Motion for Extension
  of Time to Object to Motion to Approve Settlement Agreement Between the (A) Debtor and (B)
  Adam Young and Ringba, LLC (the “9019 Motion”). The Court has considered the Second
  Unopposed Motion, reviewed the file, and is informed in the premises. IT IS HEREBY
  ORDERED THAT:

           1.     The Second Unopposed Motion is GRANTED.

         2.     JPMorgan Chase Bank, N.A. shall have an extension of time, up to and including
  January 14, 2025, to object to the 9019 Motion.

           Dated this 7th day of January, 2025.

                                                  BY THE COURT:


                                                  _____________________________________
                                                  _____
                                                     _ _______
                                                          __ ___________
                                                          __            _ _________________
                                                  Kimberley H.
                                                             H Tyson
                                                  Chief United States Bankruptcy Judge




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